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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA

CLARE THOMAS,
             Plaintiff,
                                                          Case No.
v.                                                   2:18-cv-00468-RDP

T-MOBILE, USA, INC., et al.
             Defendants.

     Motion for Leave to Comply with this Court’s June 25, 2018, Order
                              Out-of-Time

      Comes now Plaintiff, Clare Thomas, by and through the undersigned

counsel, and requests that this Court accept compliance with this Court’s June 25,

2018, Order out-of-time. In support of this request, Plaintiff states as follows:

      1.     On June 11, 2018, Archibald M. Smith, IV, submitted his application

to appear pro hac vice on behalf of Plaintiff. (Doc. 12).

      2.     On June 25, 2018, this Court entered an Order conditionally granting

the pro hac vice application and requiring that Mr. Smith certify that he has read

and understands (i) any local rules applicable in this District, (ii) the Alabama State

Bar Code of Professional Courtesy and the Lawyer’s Creed, and (iii) this Court’s

CM/ECF requirements; the Order also required payment of the $50 pro hac vice

fee. (Doc. 13).
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         3.      The Order required that Mr. Smith complete the above-stated

requirements by July 2, 2018. (Id.). However, Plaintiff’s former local counsel first

notified Mr. Smith of the Order and the Court’s requirements in a July 2, 2018,

email. (Exhibit A, ¶3). On July 2, 2018, Mr. Smith was in-flight from Europe to

Los Angeles and did not see the email or this Court’s Order until July 3, 2018.

(Id.).

         4.      On July 13, 2018, this Court set a Rule 16(b) Scheduling Conference

for July 23, 2018. (Doc. 16). It was not until a July 18, 2018, email from

Defendants’ counsel that Mr. Smith learned of the July 23, 2018, hearing.(Ex. A,

¶8).

         5.      Both Plaintiff, and Mr. Smith, have immediately acted to comply with

this Court’s Orders and ensure that future problems will not occur, including:

              a. Plaintiff has engaged the undersigned to serve as new local counsel in

                 this matter, who will attend the July 23, 2018, scheduling conference;

              b. Mr. Smith provides his certification that he has read and understands

                 the (i) local rules applicable in this District, (ii) Alabama State Bar

                 Code of Professional Courtesy and the Lawyer’s Creed, and (iii) this

                 Court’s CM/ECF requirements (Ex. A, ¶10); and,
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         c. Arranged to immediately pay the $50 pro hac vice fee if the Court

            will grant this motion and excuse the failure to timely meet the

            requirements of the June 25, 2018, Order.


      Wherefore, premises considered, Plaintiff requests the Court excuse the

untimely compliance with the requirements of the June 25, 2018, Order, and allow

Mr. Smith to complete those requirements out-of-time.




                                           /s/ Keith T. Belt, Jr.
                                           Keith T. Belt, Jr. (ASB-6843-T79K)
Of Counsel
Belt & Bruner, P.C.
880 Montclair Road, Suite 300
Birmingham, AL 35213
(205) 933-1500
f (205) 933-5500
keithb@beltlawfirm.com
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                           CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system. In the event that the CM/ECF system does not

send notification of such filing to the following, undersigned counsel will serve the

following via U.S. Mail.

Counsel for Defendants T-Mobile USA Inc & Stephanie Hart
Arnold William Umbach, III
Breanna Harris Young
Starnes Davis Florie LLP
100 Brookwood Place, 7th Floor
Birmingham, AL 35209
(205) 868-6000
f (205) 868-6099

                                              /s/ Keith T. Belt, Jr.
                                              Of Counsel
